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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

THOMAS GEBKA, Individually and on             )
behalf of all others similarly situated,      )
                                              )
                       Plaintiff,             )       Case No. 1:19-cv-06662
                                              )
           v.                                 )       Hon. Sharon J. Coleman
                                              )
ALLSTATE INSURANCE COMPANY,                   )       Mag. Jeffrey I. Cummings
a Delaware limited liability company,         )
                                              )       JURY TRIAL DEMANDED
                       Defendant.             )

                    SECOND AMENDED CLASS ACTION COMPLAINT

                                        INTRODUCTION

           1.   Plaintiff Thomas Gebka (“Plaintiff”) brings this action to enforce the consumer-

privacy provisions of the Telephone Consumer Protection Act (“TCPA”), 47 U.S.C. § 227, a

federal statute enacted in 1991 in response to widespread public outrage about the proliferation of

intrusive, nuisance telemarketing practices. See Mims v. Arrow Fin. Servs., LLC, 565 U.S. 368,

372 (2012).

           2.   In violation of the TCPA, Allstate and/or third-parties acting on its behalf made

telemarketing calls to Mr. Gebka’s cellular telephone number for the purposes of advertising

Allstate’s goods and services without express consent which is prohibited by the TCPA.

           3.   Mr. Gebka never consented to receive the calls. Because telemarketing campaigns

generally place calls to hundreds of thousands or even millions of potential customers en masse,

the Plaintiff brings this action on behalf of proposed nationwide classes of other persons who

received illegal telemarketing calls from or on behalf of the Defendant.

           4.   A class action is the best means of obtaining redress for the Defendant’s wide-scale


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illegal telemarketing, and is consistent both with the private right of action afforded by the TCPA

and the fairness and efficiency goals of Rule 23 of the Federal Rules of Civil Procedure.

           5.    This is an action for injunctive relief, statutory damages, and actual damages based

on these unlawful telemarketing calls (commonly referred to as “robocalls”) in violation of the

federal TCPA.

                                          THE PARTIES

           6.    Thomas Gebka is an individual residing in Hendersonville, Tennessee.

           7.    Allstate Insurance Company (“Allstate” or “Defendant”), a wholly-owned

subsidiary of Allstate Insurance Holdings, LLC, is a Delaware limited liability company with its

corporate Headquarters located in Northbrook Illinois, which is located within this district.

                                  JURISDICTION AND VENUE

           8.    The Court has federal question subject matter jurisdiction over these TCPA claims.

Mims v. Arrow Financial Services, LLC, 565 U.S. 368 (2012).

           9.    The events described herein relate to unlawful telemarketing calls to Plaintiff’s

cellular telephone number.

           10.   Venue is appropriate in this district pursuant to 47 U.S.C. § 227(b)(3) as Defendant

is headquartered and does business within this District.

                    THE TELEPHONE CONSUMER PROTECTION ACT

           11.   In 1991, Congress enacted the TCPA to regulate the explosive growth of the

telemarketing industry. In so doing, Congress recognized that “[u]nrestricted telemarketing . . .

can be an intrusive invasion of privacy [.]” Telephone Consumer Protection Act of 1991, Pub. L.

No. 102-243, § 2(5) (1991) (codified at 47 U.S.C. § 227).

           12.   According to findings by the Federal Communication Commission (“FCC”), the



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agency Congress vested with authority to issue regulations implementing the TCPA, such calls are

prohibited because, as Congress found, artificial and prerecorded voice telephone calls are a

greater nuisance and invasion of privacy than live solicitation calls, and such calls can be costly

and inconvenient.

           The TCPA Prohibits Artificial and Prerecorded Voice Telemarketing Calls

           13.    The TCPA makes it unlawful to make any telemarketing call, using an artificial or

prerecorded voice, to any cellular telephone line without express written consent. See 47 U.S.C.

§ 227(b)(1)(A)(iii). The TCPA provides a private cause of action to persons who receive calls in

violation of 47 U.S.C. § 227(b)(1)(A). See 47 U.S.C. § 227(b)(3).

           The TCPA Prohibits Calling Numbers on the National Do Not Call Registry

           14.    The TCPA also prohibits making advertising or telemarking calls to any telephone

number that has been registered on the National Do-Not-Call registry.            See 47 C.F.R. §

64.1200(c)(2); 47 U.S.C. § 227(c)(5).

           15.    The TCPA provides a private cause of action to persons who receive more than one

call on behalf of the same entity within any 12-month period in violation of 47 C.F.R. §

64.1200(c)(2). See 47 U.S.C. § 227(c)(5).

           Sellers like Allstate Can be Liable under the TCPA for the Calls

           16.    The FCC has held that a company on whose behalf a telephone call is made bears

the responsibility for any violations. In re Rules Implementing the Tel. Consumer Prot. Act of

1991, 23 FCC Rcd 559, 565 (¶ 10) (Jan. 4, 2008) (specifically recognizing “on behalf of” liability

in the context of an autodialed or prerecorded message call sent to a consumer by a third party on

another entity’s behalf under 47 U.S.C. § 227(b)).




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           17.    On May 9, 2013, the FCC released a Declaratory Ruling holding that a corporation

or other entity that contracts-out its telephone marketing “may be held vicariously liable under

federal common law principles of agency for violations of either section 227(b) or section 227(c)

that are committed by third-party telemarketers.” In re DISH Network, LLC, 28 FCC Rcd 6574,

6574 (¶ 1) (2013).

           18.    The May 2013 FCC Ruling held that, even absent evidence of a formal contractual

relationship between the seller and the telemarketer, a seller is liable for telemarketing calls if the

telemarketer “has apparent (if not actual) authority” to make the calls. In re DISH Network, LLC,

28 FCC Rcd at 6586 (¶ 34).

           19.    The FCC has rejected a narrow view of TCPA liability, including the assertion that

a seller’s liability requires a finding of formal agency and immediate direction and control over

the third-party who placed the telemarketing call. In re DISH Network, LLC, 28 FCC Rcd at 6587

n.107.

           20.    The May 2013 FCC Ruling further clarifies the circumstances under which a

telemarketer has apparent authority:

           [A]pparent authority may be supported by evidence that the seller allows the
           outside sales entity access to information and systems that normally would be
           within the seller’s exclusive control, including: access to detailed information
           regarding the nature and pricing of the seller’s products and services or to the
           seller’s customer information. The ability by the outside sales entity to enter
           consumer information into the seller’s sales or customer systems, as well as the
           authority to use the seller’s trade name, trademark and service mark may also be
           relevant. It may also be persuasive that the seller approved, wrote or reviewed the
           outside entity’s telemarketing scripts. Finally, a seller would be responsible under
           the TCPA for the unauthorized conduct of a third-party telemarketer that is
           otherwise authorized to market on the seller’s behalf if the seller knew (or
           reasonably should have known) that the telemarketer was violating the TCPA on
           the seller’s behalf and the seller failed to take effective steps within its power to
           force the telemarketer to cease that conduct.

In re DISH Network, LLC, 28 FCC Rcd at 6592 (¶ 46).


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           21.    The Federal Communication Commission has confirmed sellers such as Allstate

may not avoid liability by outsourcing telemarketing:

           [A]llowing the seller to avoid potential liability by outsourcing its telemarketing
           activities to unsupervised third parties would leave consumers in many cases
           without an effective remedy for telemarketing intrusions. This would particularly
           be so if the telemarketers were judgment proof, unidentifiable, or located outside
           the United States, as is often the case. Even where third-party telemarketers are
           identifiable, solvent, and amenable to judgment limiting liability to the telemarketer
           that physically places the call would make enforcement in many cases substantially
           more expensive and less efficient, since consumers (or law enforcement agencies)
           would be required to sue each marketer separately in order to obtain effective relief.
           As the FTC noted, because “[s]ellers may have thousands of ‘independent’
           marketers, suing one or a few of them is unlikely to make a substantive difference
           for consumer privacy.”

In re DISH Network, LLC, 28 FCC Rcd at 6588 (¶ 37) (internal citations omitted).

                                    THE UNLAWFUL CONDUCT

           22.    Plaintiff restates the above and foregoing as though fully restated herein.

           23.    Allstate authorizes its agencies (hereinafter, “Allstate agencies”) to act as agents of

Allstate for the purpose of soliciting, selling, and servicing Allstate insurance, and the Allstate

agencies consent to so act.

           24.    Allstate agencies have Allstate’s actual and apparent authority to appoint subagents

for solicitation and telemarketing purposes.

           25.    Allstate agencies contractually agree to indemnify and be responsible to Allstate

for any third-party subagents.

           26.    Pursuant to direction and encouragement from Allstate, Allstate agencies appoint

third-party telemarketing vendors as subagents to solicit people to purchase Allstate insurance.

           27.    Specifically, Allstate agencies engage third-party telemarketing vendors to make

telemarketing calls to generate “leads” to purchase Allstate insurance.

           28.    The third-party vendors directed call centers to make telemarketing calls to generate


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the “leads” to purchase Allstate insurance.

           29.    The lead-generation process involves making telemarketing calls, without prior

express written consent, invitation or permission, to telephone numbers obtained from sources

other than Allstate or Allstate agencies, for the purpose of advertising and encouraging the

purchase of Allstate insurance.

           30.    The illegal telemarketing calls are either live-transferred to an Allstate agency

without ever ending the call (sometimes known as a “live transfer lead”), or the called party’s

contact information is provided to an Allstate agency for a callback (sometimes known as an

“Internet” or “call verified lead”).

           31.    In both cases, the Allstate agencies accepted the live-transfer calls and the call-

verified/Internet lead information, spoke to those consumers about purchasing Allstate insurance,

and provided some of them quotes for Allstate insurance.

           32.    Allstate and the Allstate agencies knowingly accepted business originated through

the illegal telemarketing calls.

           The Calls to Plaintiff

           33.    Plaintiff’s residential telephone number was registered on the National Do Not Call

Registry for more than 31 days prior to the calls at issue.

           34.    On August 8, 2019 Plaintiff received a telephone call on his cellular telephone

number on behalf of Allstate from caller ID 708-555-0000.

           35.    No company name was transmitted via Caller ID.

           36.    At the outset of the call, there was a brief pause of dead air, then a live

representative came on the line, said he was calling on behalf of Allstate, and asked Plaintiff if he

was interested in an insurance quote from Allstate. Plaintiff terminated the call.



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           37.   A few hours later, on August 8, 2019, Plaintiff received another telephone call on

his cellular telephone number on behalf of Allstate, this time from caller ID 312-555-0000.

           38.   No caller ID name was transmitted.

           39.   At the outset of the call, there was a brief pause of dead air, then a live

representative came on the line and said he was calling on behalf of Allstate. The caller promoted

Allstate insurance products and services, and Plaintiff was asked if he would look at an Allstate

insurance quote.

           40.   After confirming Plaintiff’s vehicle and personal information, the telemarketer

transferred the call (with Plaintiff still on the line) to an Allstate agency located in Alsip, Illinois,

and an Allstate agent from the agency spoke to Plaintiff about a quote for Allstate insurance.

           41.   The same day, the Allstate agency sent Plaintiff an email containing Allstate’s

corporate name and address, a hyperlink to a quote for Allstate insurance, and a hyperlink to

Allstate’s website.

           42.   Later on August 8, 2019, Plaintiff received yet another telephone call on his cellular

telephone number on behalf of Allstate, this time from caller ID 331-216-1926, again asking if he

was interested in an Allstate insurance quote. Plaintiff terminated the call.

           43.   On September 18, 2019 Plaintiff received another telephone call on his cellular

telephone number on behalf of Allstate, this time from caller ID number 630-718-1821.

           44.   At the outset of the call, there was a brief pause of dead air, then a live

representative came on the line and said he was calling on behalf of Allstate. Plaintiff was not

interested in the products or services being offered, but he listened to the entire telemarketing pitch

on September 18, 2019 to confirm Allstate was behind the call. The caller promoted Allstate

insurance products and services, and asked Plaintiff if he was interested in a quote for Allstate



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insurance.

           45.   Plaintiff told the Allstate representative to never call Plaintiff again.

           46.   The August 8, 2020 and September 18, 2020 calls to Plaintiff’s cellular telephone

number were placed by call centers directed by Richardson Marketing Group, a third-party

telemarketing vendor numerous Allstate agencies used to generate leads based on Allstate’s

endorsement of Richardson Marketing Group.

           47.   Allstate endorsed Richardson Marketing Group to Allstate agencies.

           48.   Plaintiff’s cellular telephone number was not added to Defendant’s or its callers’

internal do-not-call lists, they did not create or maintain any record of Plaintiff’s request not to

receive further telemarketing calls, and they did not honor Plaintiff’s do-not-call request.

           49.   Instead, Plaintiff continued to receive telemarketing calls promoting Allstate’s

insurance products.

           50.   In fact, the telemarketing calls to Plaintiff’s cellphone about Allstate insurance did

not stop even after Plaintiff filed this lawsuit.

           51.   On July 21, 2020, Plaintiff received yet another call on his cellular telephone

number on behalf of Allstate, this time from caller ID 630-994-9685 using an artificial and/or

prerecorded voice.

           52.   A voice asked if Plaintiff was interested in an auto insurance quote.

           53.   Then the system paused and waited for a prompt from Plaintiff.

           54.   In order to determine who made the artificial and/or prerecorded voice call, Plaintiff

said yes to the prerecorded/artificial voice prompt.

           55.   After Plaintiff said yes to the prerecorded/artificial voice prompt, the system paused

while it analyzed Plaintiff’s response. Then the system asked for Plaintiff’s name, zip code, and



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the make and model of his automobile.

           56.   Then the system paused and waited for a prompt from Plaintiff.

           57.   After Plaintiff recited the requested information, the system paused while it

analyzed Plaintiff’s response. Then the system asked if Plaintiff was interested in receiving quotes

for other types of insurance.

           58.   Less than one hour after Plaintiff terminated the telemarketing call on July 21, 2020,

an Allstate agency in Olive Branch, Mississippi called Plaintiff’s cellular telephone number.

Plaintiff did not answer the call, and an Allstate agent left a voicemail about insurance from

Allstate.

           59.   The same Allstate agency in Olive Branch, Mississippi called Plaintiff’s cellular

telephone number again on July 23, 2020, August 4, 2020, and August 20, 2020.

           60.   Plaintiff did not answer the first two calls, and both times the same Allstate agent

from the July 21st call left a voicemail about Allstate insurance.

           61.   Plaintiff answered the August 20, 2020 call and asked the Allstate agent how he

obtained Plaintiff’s phone number. The Allstate agent said he received it from a lead source called

Everquote.

           62.   The Allstate agent said he was calling to make sure Plaintiff found a good insurance

quote.

           63.   At the end of the August 20th call with the Allstate agent, Plaintiff requested that

he be placed on a do not call list. The Allstate agent responded that Plaintiff’s number was already

on the National Do Not Call Registry.

           64.   Later on August 20, 2020, the Allstate agency sent Plaintiff an email containing

Allstate’s corporate name and address, a hyperlink to a quote for Allstate insurance, and a



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hyperlink to Allstate’s website.

           65.   On February 25, 2021, Plaintiff received yet another call on his cellular telephone

number using an artificial and/or prerecorded voice, this time from caller ID (630) 890-4056.

           66.   The same voice from the July 21st telemarketing call asked if Plaintiff was

interested in an auto insurance quote.

           67.   Then the system paused and waited for a prompt from Plaintiff.

           68.   In order to determine who made this artificial/prerecorded voice call, Plaintiff said

yes to the artificial/prerecorded voice prompt.

           69.   After Plaintiff said yes to the artificial/prerecorded voice prompt, the system paused

while it analyzed Plaintiff’s response. Then the system asked for Plaintiff’s name, zip code, and

the make and model of his automobile.

           70.   Then the system paused and waited for a prompt from Plaintiff.

           71.   After Plaintiff recited the requested information, the system paused while it

analyzed Plaintiff’s response. Then the system asked if Plaintiff was interested in receiving quotes

for other types of insurance.

           72.   The July 21, 2020 and February 25, 2021 calls both asked the same questions,

phrased in the same way, in the same sequence, using the same voice, with identical intonation.

This indicates both calls used an artificial and/or prerecorded voice.

           73.   During the July 21, 2020 and February 25, 2021 calls, the voice, after asking each

question, paused and, without making any other comments or sounds, waited for Plaintiff to speak,

and there was complete silence during each pause without the sea of voices or other background

noise of a call center. This indicates both calls used an artificial and/or prerecorded voice.

           74.   During the July 21, 2020 and February 25, 2021 calls, after each time Plaintiff



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spoke, the system paused while the program analyzed what Plaintiff had said and determined what

to say or ask Plaintiff next. This indicates both calls used an artificial and/or prerecorded voice.

           75.   The template-based, generic content of the messages that played during the July 21,

2020 and February 25, 2021 calls also indicates both calls used an artificial and/or prerecorded

voice.

           76.   At no time did Plaintiff provide express written consent authorizing Allstate, any

Allstate agency, or anyone else to deliver or cause to be delivered advertisements or telemarketing

messages to his cellular telephone number using an artificial or prerecorded voice.

           77.   At no time did Plaintiff sign a written agreement with Allstate, any Allstate agency,

or anyone else containing Plaintiff’s cellular telephone number and stating Plaintiff agrees to be

contacted on that number by Allstate or any Allstate agency.

                                    ALLSTATE’S LIABILITY

           78.   Allstate is extensively involved in the operations of Allstate agencies.

           79.   Allstate requires Allstate agencies to follow detailed standards.

           80.   Allstate sets the standards Allstate agencies must follow.

           81.   Allstate has the ability, at any time without prior notice to Allstate agencies, to

 change the standards Allstate agencies must follow.

           82.   From time to time, Allstate changes the standards Allstate agencies must follow.

           83.   Allstate has the right to monitor the Allstate agencies’ compliance with Allstate’s

 standards and terminate the agency relationship for noncompliance.

           84.   Allstate sets new customer growth targets for Allstate agencies.

           85.   Allstate monitored and periodically assessed the Allstate agencies’ performance.

           86.   Allstate authorized, advised, and encouraged Allstate agencies to use third-party



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 vendors to generate “leads” to purchase Allstate insurance policies, including by making

 telemarketing calls.

           87.   It was common for Allstate to discuss third-party lead vendors during meetings with

 Allstate agencies.

           88.   Allstate recommended to Allstate agencies that they engage third-party vendors to

 make telemarketing calls to generate leads.

           89.   Allstate helped Allstate agencies identify and engage third-party lead vendors.

           90.   The Allstate Lead Marketplace is an online platform through which Allstate

 agencies purchase lead-generation services from third-party telemarketing vendors.

           91.   Allstate promoted the Allstate Lead Marketplace program to Allstate agencies.

           92.   Everquote is, or at all times relevant was, a third-party telemarketing vendor who

 participates in the Allstate Lead Marketplace program.

           93.   Allstate set up meetings between Allstate agencies and third-party telemarketing

 vendors for the vendors to pitch their services. Allstate invited Allstate agencies to attend those

 meetings, and Allstate participated in those meetings.

           94.   During those meetings, third-party telemarketing vendors spoke about their lead-

 generation services and explained their telemarketing process, including that it would involve

 making calls to solicit people to purchase Allstate insurance.

           95.   Richardson Marketing Group is a third-party lead vendor who participated in such

 a meeting with Allstate and Allstate agencies.

           96.   Allstate endorsed Richardson Marketing Group to Allstate agencies.

           97.   Allstate was involved in obtaining special group pricing from Richardson

 Marketing Group for Allstate agencies who used Richardson Marketing Group’s lead-generation



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 and telemarketing services.

           98.    During the relevant period, Allstate agencies entered into over eighty (80) separate

 agreements with Richardson Marketing Group for lead-generation services.

           99.    Plaintiff’s lawsuit is not the first lawsuit seeking redress for telemarketing calls

 about Allstate insurance that were placed pursuant to lead-generation agreements with Richardson

 Marketing Group.

           100.   Before this lawsuit was filed, another individual whose cellular telephone number

 is on the National Do Not Call Registry filed a lawsuit complaining of telemarketing calls

 promoting Allstate insurance that were placed pursuant to a lead-generation agreement between

 Richardson Marketing Group and an Allstate agency.

           101.   Allstate knew about the prior lawsuit, and that it involved telemarketing calls placed

 on behalf of Allstate pursuant to a lead-generation agreement between Richardson Marketing

 Group and an Allstate agency.

           102.   Allstate did not discipline the Allstate agency that was involved, and did not request

 or recommend that the Allstate agency end its relationship with Richardson Marketing Group.

           103.   Allstate knew Plaintiff’s subsequent lawsuit involved telemarketing calls placed on

 behalf of Allstate pursuant to a lead-generation agreement between Richardson Marketing Group

 and an Allstate agency.

           104.   Allstate did not discipline the Allstate agency that was involved, and did not request

 or recommend that the Allstate agency end its relationship with Richardson Marketing Group.

           105.   Allstate helps finance Allstate agencies’ use of third-party telemarketing vendors.

           106.   Allstate knew Allstate agencies were using third-party vendors to make

 telemarketing calls to generate leads to purchase Allstate insurance.



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           107.   Allstate and the Allstate agencies knew the lead-generation process involved third-

 party vendors making (or causing others to make) telephone calls to solicit people to purchase

 Allstate insurance.

           108.   Allstate and the Allstate agencies knew those telemarketing calls were being made

 to telephone numbers on the National Do Not Call Registry.

           109.   Upon information and belief, hundreds of Allstate agencies used third-party lead

 vendors endorsed by Allstate to make telemarketing calls to generate leads to purchase Allstate

 insurance.

           110.   The Allstate agencies maintained interim control over the third-party telemarketing

 vendors’ and the call centers’ actions.

           111.   The Allstate agencies specified to the third-party telemarketing vendors the

 geographic parameters for the leads they could telemarket to, the specific type(s) of Allstate

 insurance to promote, the number of leads to generate, and the times in which to call.

           112.   The Allstate agencies instructed the vendors whether to provide the lead’s contact

 information to the agency for a callback, or transfer the calls “live” to the agency and to what

 specific telephone number(s).

           113.   The Allstate agencies had the right to terminate their relationships with the third-

 party telemarketing vendors.

           114.   The Allstate agencies had the ability to make interim changes to the call

 specifications.

           115.   The Allstate agencies changed various call specifications from time to time.

           116.   The third-party telemarketing vendors passed the Allstate agencies’ call

 specifications down the chain to the call centers they directed to place the calls, and the call



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 centers complied.

           117.   The Allstate agencies maintained ultimate discretion about whether to accept any

 given lead from the third-party vendors and provide a lead a quote for Allstate insurance.

           118.   Allstate insurance policies were sold to leads generated by the illegal telemarketing

 calls, thereby enlarging Allstate’s customer base, and insurance premiums were collected for

 those insurance policies.

           119.   When an Allstate agency sells an Allstate insurance policy and a premium is

 collected on that policy, Allstate receives a portion of the premium and the Allstate agency

 receives a portion of the premium.

                                      CLASS ALLEGATIONS

           120.   As authorized by Rule 23 of the Federal Rules of Civil Procedure, Plaintiff brings

this action on behalf of a class of all other persons or entities similarly situated throughout the

United States.

           121.   The classes of persons Plaintiff proposes to represent are tentatively defined,

subject to amendment, as follows:

                  Artificial/Prerecorded Voice Class
                  Each person within the United States: (1) to whose cellular telephone
                  number; (2) Defendant or anyone acting on Defendant’s behalf placed a
                  non-emergency telephone call; (3) promoting Defendant’s products or
                  services; (4) using an artificial or prerecorded voice; (5) without prior
                  express written consent of the called party to call said telephone number;
                  (6) at any time from October 8, 2015 through trial


                  Do Not Call Class
                  Each person in the United States: (1) to whose telephone number Defendant
                  or anyone acting on Defendant’s behalf initiated two or more telephone
                  solicitations during a 12-month period; (2) where the person’s telephone
                  number was registered on the National Do Not Call Registry more than
                  thirty-one days before the telephone solicitations; (3) at any time from
                  October 8, 2015 through trial.


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           122.   Upon information and belief, the members of the classes received one or more

automated calls for telemarketing purposes without having given prior express consent.

           123.   The classes as defined above are identifiable through phone records, phone number

databases, and business records.

           124.   The potential class members number at least in the thousands, since automated

telemarketing campaigns make calls to hundreds or thousands of individuals per day. Individual

joinder of these persons is impracticable.

           125.   Plaintiff is a member of the proposed classes.

           126.   There are questions of law and fact common to Plaintiff and to the proposed

classes, including but not limited to the following:

                  a)     Whether Defendant violated the TCPA;

                  b)     Whether the calls used an artificial and/or prerecorded voice;

                  c)     Whether the calls constitute telephone solicitations;

                  d)     Whether the calls constitute telemarketing;

                  e)     Whether the calls included or introduced an advertisement;

                  f)     Whether the conduct of Defendant, the Allstate agencies, the third-party

                         vendors, and/or any subcontractors who placed the calls was knowing

                         and/or willful;

                  g)     Whether Allstate agencies are agents of Allstate;

                  h)     Whether Allstate ratified the conduct of the Allstate agencies;

                  i)     Whether the third-party vendors are agents of the Allstate agencies and/or

                         Allstate;

                  j)     Whether the Allstate agencies and/or Allstate ratified the conduct of the


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                         third-party vendors;

                  k)     Whether the third-party vendors are subagents of Allstate and/or the Allstate

                         agencies;

                  l)     Whether Defendant is liable for the calls; and

                  m)     Whether the Plaintiff and the class members are entitled to statutory

                         damages and/or injunctive relief because of Defendant’s actions.

           127.   Plaintiff’s claims are typical of the claims of class members. Plaintiff’s claims, like

the claims of the Class arise out of the same common course of conduct by Defendant and its

agents and subagents, and are based on the same legal and remedial theories.

           128.   Plaintiff is an adequate representative of the classes because his interests do not

conflict with the interests of the classes, he will fairly and adequately protect the interests of the

classes, and he is represented by counsel skilled and experienced in class actions.

           129.   Common questions of law and fact predominate over questions affecting only

individual class members. The only individual question concerns identification of class members,

which will be ascertainable from records maintained by Defendant, its agents and subagents, the

National Do Not Call Registry, and others.

           130.   Management of these claims is likely to present significantly fewer difficulties than

are presented in many class claims because the calls at issue are all automated. Class treatment is

superior to multiple individual suits or piecemeal litigation because it conserves judicial resources,

promotes consistency and efficiency of adjudication, provides a forum for small claimants, and

deters illegal activities. There will be no significant difficulty in the management of this case as a

class action.

           131.   The likelihood that individual members of the classes will prosecute separate



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actions is remote due to the time and expense necessary to prosecute an individual case.

           132.   Plaintiff is not aware of any litigation concerning this controversy already

commenced by others who meet the criteria for class membership described above.

           133.   Defendant has acted and failed to act on grounds generally applicable to Plaintiff

and the other members of the Class, thereby making final injunctive relief and corresponding

declaratory relief appropriate with respect to the Class as a whole. Prosecution of separate actions

by individual members of the putative Class, should they even realize that their rights have been

violated, would likely create the risk of inconsistent or varying adjudications with respect to

individual members of the Class that would establish incompatible standards of conduct.

           134.   The identities of the class are readily identifiable from records maintained by

Defendant, its agents and subagents, the National Do Not Call Registry, and others.

                                              COUNT I
                                       Violations of the TCPA
                      Artificial/Prerecorded Voice Calls to Cellular Numbers

           135.   Plaintiff and the class members re-allege and incorporate by reference the

allegations contained in the foregoing paragraphs as if fully set forth herein.

           136.   Defendant or someone acting on Defendant’s behalf made at least one call to

Plaintiff’s cellular telephone numbers using an artificial or prerecorded voice.

           137.   The calls to Plaintiff’s cellular telephone number were not made for emergency

purposes within the meaning of the TCPA.

           138.   The calls to Plaintiff’s cellular telephone number advertised the commercial

availability or quality of Defendant’s insurance goods and/or services.

           139.   The calls to Plaintiff’s cellular telephone number “included or introduced an

advertisement” within the meaning of the TCPA.



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           140.   The calls to Plaintiff’s cellular telephone number were for the purpose of

encouraging the purchase or rental of, or investment in, Defendant’s insurance goods and/or

services.

           141.   The calls to Plaintiff’s cellular telephone number constitute “telemarketing” within

the meaning of the TCPA.

           142.   Neither Defendant nor any entity calling on behalf of Defendant had Plaintiff’s

prior express written consent to make the calls to Plaintiff’s cellular telephone number using an

artificial or prerecorded voice.

           143.   Neither Defendant nor any entity calling on behalf of Defendant had Plaintiff’s

“prior express written consent,” as defined by 47 C.F.R. § 64.1200(f)(8), to make the calls to

Plaintiff’s cellular telephone number.

           144.   Plaintiff’s telephone number is, and at all times pertinent was, assigned to a cellular

telephone service within the meaning of 47 U.S.C. § 227(b)(1)(A)(iii) and 47 C.F.R. §

64.1200(a)(1)-(2).

           145.   Defendant violated the TCPA, including 47 U.S.C. § 227(b)(1)(A)(iii), each time

Defendant or someone acting on Defendant’s behalf made a non-emergency call to Plaintiff’s

cellular telephone number using an artificial or prerecorded without Plaintiff’s prior express

consent.

           146.   Defendant violated the TCPA implementing regulations, including 47 C.F.R. §

64.1200(a)(2), each time Defendant or someone acting on Defendant’s behalf made a call to

Plaintiff’s cellular telephone number that included or introduced an advertisement, or constituted

telemarketing, using an artificial or prerecorded voice without Plaintiff’s prior express written

consent.



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           147.   Defendant’s artificial or prerecorded voice calls invaded Plaintiff’s and the class

members’ privacy and violated their legal rights under federal law to not be subjected to such

unlawful and anonymous automated calls.

           148.   The artificial or prerecorded voice calls to Plaintiff’s and the class members’

cellular telephone numbers, and the acts and omissions as to those calls described herein, were

deliberate and conscious acts or omissions.

           149.   The artificial or prerecorded voice calls to Plaintiff’s and the class members’

cellular telephone numbers were willful or knowing as those terms are defined in the

Communications Act of 1934 and administered by the FCC. Therefore it is within the Court’s

discretion to award Plaintiff and the class members up to three times the available statutory

damages as prescribed under 47 USC § 227(b)(3) and 47 USC § 227(c)(5).

           150.   As a result of Defendant’s illegal conduct, Plaintiff and the members of the class

suffered actual damages and, under 47 U.S.C. § 227(b)(3) and 47 U.S.C. § 227(c)(5), are entitled

to, inter alia, a minimum of $500.00 in damages for each such violation of the TCPA.

           151.   Plaintiff and the class members are also entitled to and do seek injunctive relief

prohibiting Defendant from violating the TCPA in the future.

                                          COUNT II
                                   Violations of the TCPA
                              Advertising/Telemarketing Calls to
                          Numbers on the National Do Not Call Registry

           152.   Plaintiff and the class members re-allege and incorporate by reference the

allegations contained in the foregoing paragraphs as if fully set forth herein.

           153.   It is a violation of the TCPA for any person or entity to initiate any telephone

solicitation to a residential or cellular number registered on the National Do Not Call Registry.

See 47 C.F.R. § 64.1200(c)(2); id. at § 64.1200(e).


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           154.   Defendant or someone acting on Defendant’s behalf made two or more telephone

solicitation calls to Plaintiff’s and the putative class members’ telephone numbers that were

registered on the National Do Not Call Registry for more than 31 days prior to the calls.

           155.   The FCC’s TCPA regulations make it unlawful to “initiate” telemarketing calls to

any residential or cellular number without maintaining a list of persons who request not to receive

calls, recording each do-not-call request and adding the person’s name and phone number to the

internal do-not-call list, and honoring each do-not-call request for 5 years from when it is made.

See 47 C.F.R. § 64.1200(d)(3), (6); id. at § 64.1200(e).

           156.   The TCPA regulations provide a do-not-call request “shall apply to the particular

business entity . . . on whose behalf a call is made[.]” 47 C.F.R. § 64.1200(d)(5).

           157.   Interpreting the meaning of the word “initiate” in its TCPA regulations, the FCC

has clarified that a “person or entity ‘initiates’ a telephone call when it takes the steps necessary to

physically place a telephone call.” In re Dish Network, LLC, 28 FCC Rcd at 6582-83. The FCC’s

interpretation of its regulations implementing the TCPA merits substantial deference. Thomas

Jefferson Univ. v. Shalala, 512 U.S. 504, 512 (1994) (reviewing courts “must give substantial

deference to an agency's interpretation of its own regulations”); see CE Design, Ltd. v. Prism

Business Media, Inc., 606 F.3d 443, 450 (7th Cir. 2010).

           158.   Plaintiff and members of the putative Class have received more than one telephone

call on behalf of Defendant within a twelve (12) month period in violation of the regulations set

forth in 47 C.F.R. § 64.1200.

           159.   As a result of Defendant’s conduct and pursuant to 47 U.S.C. § 227(c)(5) of the

TCPA, Plaintiff and the other members of the putative Class were harmed and are each entitled to

$500.00 in damages for each violation. Plaintiff and the class are also entitled to an injunction



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against future calls.

           WHEREFORE, Plaintiff Thomas Gebka, on behalf of himself and the other members of

the Classes, prays for the following relief:

                   a)   A declaration that Defendant’s practices described herein violate the

                        Telephone Consumer Protection Act, 47 U.S.C. § 227;

                   b)   An injunction prohibiting Defendants from initiating telephone solicitations to

                        persons who have registered their telephone numbers with the National Do Not

                        Call Registry;

                   c)   An award of actual damages;

                   d)   An award of statutory damages for Plaintiff and each Class member in the

                        amount of $500.00 for each and every call that violated the TCPA;

                   e)   An award of treble damages, as provided by statute, of up to $1,500.00 for

                        Plaintiff and each Class member for each and every call that violated the

                        TCPA;

                   f)   An order certifying this action to be a proper class action pursuant to the

                        Federal Rules of Civil Procedure 23, establishing the appropriate Class and

                        any Subclasses the Court deems appropriate, finding that Plaintiff is a proper

                        representative of the Class, and appointing the lawyers and law firms

                        representing Plaintiff as counsel for the Class; and

                   g)   Such further and other relief the Court deems reasonable and just.

                                             JURY DEMAND

           Pursuant to Fed. R. Civ. P. 38(b), Plaintiff, individually and on behalf of all others similarly

situated, demands a trial by jury on all issues so triable.



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Dated: May 20, 2021
                                      Respectfully Submitted,

                                      THOMAS GEBKA, individually and on behalf of all
                                      others similarly situated, Plaintiffs

                                      By: /s/ Keith J. Keogh

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                              CERTIFICATE OF SERVICE

       I hereby certify that, on May 20, 2021, I caused a copy of the foregoing Second Amended
Class Action Complaint to be served upon all counsel of record via electronic filing using the
CM/ECF system.


                                                   /s/ Keith J. Keogh




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